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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION


UNITED STATES OF AMERICA

vs.                                                     CASE NO.: 4:08cr29-SPM

TERRY PATRICK TURNER,

           Defendant.
_______________________________/


                     ORDER DENYING MOTION TO SEVER

       This cause comes before the Court on Defendant Terry Patrick Turner’s

Motion for Severance of Defendants (doc. 244) and the Government’s response

(doc. 248).

       Defendant contends that a severance is required under Bruton v. United

States, 391 U.S. 123 (1968), because at trial the Government will introduce

statements of co-defendant Custodio Guerra, and Defendant will not have an

opportunity to cross-examine Gurerra. Under Bruton v. United States, 391 U.S.

123 (1968), a severance of trial is required on confrontation clause grounds if a

co-defendant’s confession implicating another defendant will be admitted during

a joint trial at which the confessing co-defendant is not subject to cross-

examination. A Bruton severance is not required if the co-defendant’s confession
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would nevertheless be admissible against the defendant at a separate trial. Id. at

128 n.3; United States v. Archbold-Newball, 554 F.2d 665, 667 (5th Cir. 1977).

        In this case, the Government has demonstrated that the statements at

issue may be admissible at a separate trial against Defendant as a co-

conspirator statement under Federal Rule of Evidence 801(d)(2)(E). Because

the statements may be admissible against Defendant, grounds for severance

under Bruton have not be established and the motion to sever will be denied.

Accordingly, it is

        ORDERED AND ADJUDGED: the Motion for Severance of Defendants

(doc. 244) is denied.

        DONE AND ORDERED this 4th day of February, 2009.



                                    s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge




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